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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
———————————————————————— x
MARK I. SOKOLOW et al.,

                      Plaintiffs,
                                                         04 Civ. 397 (GBD)
         v.
                                                         Notice of Appeal
PALESTINE LIBERATION ORGANIZATION et al.,

                      Defendants,

UNITED STATES OF AMERICA,

         Intervenor.
———————————————————————— x


     Intervenor the United States appeals to the United States Court of Appeals for
the Second Circuit from the Memorandum Decision and Order entered on March 10,
2022.

Dated:        New York, New York             Respectfully submitted,
              May 9, 2022
                                             DAMIAN WILLIAMS
                                             United States Attorney for the
                                             Southern District of New York
                                             Attorney for Intervenor

                                       By:   /s/ Benjamin H. Torrance
                                             BENJAMIN H. TORRANCE
                                             Assistant United States Attorney
                                             86 Chambers Street
                                             New York, New York 10007
                                             Telephone: 212.637.2703
                                             Fax: 212.637.2702
                                             E-mail: benjamin.torrance@usdoj.gov
